Case 1:21-cv-23727-DPG Document 300 Entered on FLSD Docket 12/24/2024 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  _______________________________
  LIL’ JOE RECORDS, INC.,                     )
                                              )
                Plaintiff,                    )
                                              )
         v.                                   )      CASE NO. 1:21-CV-23727-DPG
                                              )
  MARK ROSS; et al.,                          )
                                              )
              Defendants.                     )
  _______________________________             )

                                      NOTICE OF FILING

         PLEASE TAKE NOTICE THAT Defendants Raven Ross, Luther Campbell, Anissa

  Wong Won, Christopher Wong Won, Jr., Roderick Wong Won, and Leterius Ray (collectively

  “Defendants”), by and through their undersigned counsel, hereby submit a copy of the Transcript

  of the videotaped deposition of Mark Ross taken on November, 4, 2022, which was inadvertently

  omitted from Defendants’ Opposition to Plaintiff’s Rule 50, 59 & 60 Motion (DE 298).

  Dated: December 24, 2024                    Respectfully submitted,

                                              /s/ Angela M. Nieves
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                                              and

                                              By: /s/ Scott Alan Burroughs
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Case 1:21-cv-23727-DPG Document 300 Entered on FLSD Docket 12/24/2024 Page 2 of 2




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